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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )      CR. NO. 2:12cr53-WHA
                                            )
WILLIAM WASH GARDNER, JR.,                  )
GARDNER ADRIAN COLE                         )


          RECOMMENDATION OF THE MAGISTRATE JUDGE

          Before the court are Defendant William Wash Gardner, Jr.’s (“Gardner”) Motion to

Suppress (Doc. #29) and Defendant Gardner Adrian Cole’s (“Cole”) Motion to Suppress

(Doc. #31). Defendant Gardner seeks to suppress “all evidence and statements related

thereto resulting from the search and seizure of the 2005 Ford F-150 pick-up truck on or

about March 6, 2012,” Gardner Mot. (Doc. #29) at 5, while Cole seeks to suppress “all items

discovered” after the seizure, Cole Mot. (Doc. #31) at 6. The Government filed a Response

(Doc. #40) to the Motions, and an Amended Response (Doc. #41) to correct some minor

errors.

          On May 30, 2012, the undersigned held an evidentiary hearing on the Motions.

Sergeant Kevin Byrd (“Sergeant Byrd”), Callie Ogletree (“Officer Ogletree”), Corporal

Joseph Dunn (“Corporal Dunn”), and Detective George Russell (“Detective Russell”),

testified at the hearing. Defendants were present at the hearing and did not testify.

          Upon consideration of the Motions to Suppress, the testimony and evidence submitted

at the evidentiary hearing, and the briefs, the undersigned Magistrate Judge RECOMMENDS
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that the Motions to Suppress (Docs. #29 & 31) be DENIED.

I.     FACTS

       Based on the testimony at the hearing held on May 30, 2012, and to a preponderance

of the evidence, the court finds the operative facts as follows:1

       On or about March 6, 2012, Sergeant Byrd and his partner, Officer Ogletree, were on

patrol in an unmarked vehicle in Montgomery, Alabama as part of the Special Response

Bureau of the Montgomery Police Department (“MPD”). The Special Response Bureau

generally patrols high crime areas. At some point in the evening, during an unrelated traffic

stop, Sergeant Byrd received a phone call from a confidential source with information that

a dark colored truck with a Jefferson County license plate (“tag”) would be in Montgomery,

possibly transporting drugs. At approximately 8:30 that night, Sergeant Bryd observed a dark

colored Ford truck traveling near Baptist Hospital on the East South Boulevard with a

Jefferson County tag. The officer also observed that the stickers indicating the month and

year of the tag registration were obscured by a tag cover. The officers followed the vehicle

as it drove westwardly toward Interstate 65 and ran the license number through the National



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        The court reaches findings of fact at a suppression hearing based on a preponderance of
the evidence. United States v. Beechum, 582 F.2d 898, 913 n.16 (5th Cir. 1978) (citing Lego v.
Twomey, 404 U.S. 477, 489 (1972)).

         Further, there was testimony produced at the hearing that was not germane to the issues
presented for the court’s consideration (such as testimony regarding the statements made by
Defendants as well as testimony related to the reliability of the canine used at the scene of the
traffic stop). The court’s recitation of the factual findings here are limited to those related to the
issues raised by Defendants.

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Crime Information Center (“N.C.I.C.”).

       The truck entered the interstate and headed north towards downtown Montgomery and

the officers continued to follow. While on the interstate, Officer Ogletree, through the use

of a GPS device, determined that the truck was traveling approximately 70 miles-per-hour

in a 60 miles-per-hour speed zone. Based on the obscured tag and driving in excess of the

speed limit, the officers decided to conduct a traffic stop. After stopping the truck, the

officers approached the vehicle, Sergeant Bryd to the driver’s side and Officer Ogletree to

the passenger’s side. In the truck were Defendants Gardner, the driver, and Cole, the

passenger. Both officers testified that upon approaching the vehicle they could detect the

smell of marijuana emanating from inside the vehicle. Sergeant Byrd also smelled what

appeared to be recently sprayed air freshener and Officer Ogletree smelled and observed

Cole, the passenger, smoking what appeared to be a cigarette. The officers requested and

received identification from both defendants and returned to their vehicle to begin a check

for warrant with a police dispatcher. They also called for a canine unit to perform an “open

air sniff” of Defendants’ truck.

       Corporal Dunn, a canine handler, and a member of the Highway Safety Team of the

Montgomery Police Department, received the call to conduct a canine sniff of Defendants’

vehicle. Because he was traveling on Interstate 65 near the scene of the traffic stop, he

arrived within 5 to 10 minutes after receiving the call. At the scene, Sergeant Byrd informed

Corporal Dunn that he was conducting a traffic stop due to the obstructed tag and speeding.


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Sergeant Byrd explained that he was in the process of “running checks” on the driver and

passenger, and requested that Corporal Dunn “run a dog” around the vehicle.

       Corporal Dunn testified that, as he approached the truck and spoke to Defendants, he

could smell marijuana and a strong odor of air freshener coming from the vehicle. When he

asked Defendants if he could run his dog around the truck as part of a search and if they

would exit the vehicle, Defendants consented to the “dog sniff” and exited the vehicle.

During the dog’s walk around the truck, Daisy, the canine, “showed a strong interest” in the

driver’s side and rear tailgate of the truck, then “gave a final response” (by sitting down) on

the passenger’s side of the vehicle. Corporal Dunn, then put Daisy back in his own vehicle

and informed Sergeant Byrd that Daisy had alerted for the presence of narcotics in

Defendants’ vehicle.

       The officers then conducted a search of the vehicle and found approximately

$6,450.00 in the center console of the truck and three packages of suspected cocaine in a bag

of folding chairs in the bed of the truck. Defendants were handcuffed and transported to the

Special Operations Division of the MPD where they were arrested and questioned. At some

point after leaving the Special Operations Division and being transported to the city jail, the

officers completed the traffic citations.

II.    DEFENDANTS’ CLAIMS

       Between them, Defendants raise four issues for this court’s consideration. First,

Defendant Gardner challenges the initial stop of the vehicle. Second, both Defendants


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challenge the length of the stop. Third, Defendants challenge the subsequent search of the

truck. Fourth, Defendants request suppression based on the “fruit of the poisonous tree

doctrine.” The court will address each of these issues below.

III.   DISCUSSION

       A.     The Traffic Stop

       Defendant Gardner challenges the traffic stop, arguing that “[t]he truck was stopped

without any justification and there was no probable cause to believe that the truck’s

occupants had committed or were about to commit a crime, or that evidence of a crime was

present in the car or that the occupants were armed and dangerous.” Gardner Mot. (Doc.

#29) at 3. In their briefing, the Government countered that the vehicle was stopped because

is was speeding, and“[t]he stop was therefore valid under long-standing authority that a stop

of a speeding vehicle is legitimate and not pretextual.” Resp. (Doc. #40) at 5 (citing United

States v. Tapia, 912 F.2d 1367, 1370 n.1 (11th Cir. 1990); see also United States v.

Hernandez, 418 F.3d 1206, 1209 (11th Cir. 2005)). At the hearing, the officers testified that

the vehicle was stopped due to an obscured license plate tag and for speeding. At the close

of the hearing, Gardner challenged whether the license plate was truly obscured and whether

the vehicle was speeding, asserting that the officers intended to stop Gardner’s vehicle based

on the anonymous phone call.

       “[T]he decision to stop an automobile is reasonable where the police have probable

cause to believe that a traffic violation has occurred.” Whren v. United States, 517 U.S. 806,


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810 (1996). “The Whren Court squarely rejected the pretextual stop analysis that had

prevailed previously in the Eleventh Circuit.” United States v. Holloman, 113 F.3d 192, 194

(11th Cir. 1997). “Under the Fourth Amendment, a decision to stop an automobile is

reasonable where the police have probable cause to believe that a traffic violation occurred,

. . . and an officer’s motive in making the traffic stop does not invalidate what is otherwise

objectively justifiable behavior under the Fourth Amendment.” United States v. Simmons,

172 F.3d 775, 778 (11th Cir. 1999) Thus, Gardner’s only legitimate challenge must be to

whether the officers had probable cause to believe a traffic violation had occurred.

       At the hearing, Gardner challenged the officers’ allegations of an obscured tag,

arguing that the court can review the photograph of the tag2 to see that it is not obscured. Tr.

134. The court has reviewed the exhibit and finds that the officers’ testimony regarding the

obstruction of the month and year of the expiration dates of the tag was credible and that the

officers had probable cause to believe that a violation had occurred. Quite simply, the

bracket around the tag covers a majority of the stickers that indicate the month and year of

license plate’s registration.

       As to the issue of speeding, Defendant argues that no probable cause existed because

the officers did not have a radar detector and were using an un-calibrated GPS device. Tr.

133. However, “the Fourth Amendment does not require the use of radar detection to

establish probable cause to believe a motorist is speeding.” United States v. Monzon-Gomez,

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           Def.s’ Ex. 5.


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244 F. App’x 954, 959 (11th Cir. 2007). “[T]he question is simply whether a law

enforcement officer has sufficient cause to believe that a traffic law has been violated, not

whether such a violation can be successfully prosecuted in court.” Id. at n.3.3 In this case,

the officers testified that they observed what they believed to be Defendants’ vehicle

traveling in excess of the speed limit. There is no evidence of record contradictory to the

officers’ testimony and the court finds it credible. Accordingly, this court finds that there

was probable cause to believe a traffic violation occurred and the officers lawfully made the

traffic stop.

       B.       Length of the Traffic Stop

       Both Defendants argue that the traffic stop constituted an unconstitutional seizure

because the length and scope of the stop exceeded the time necessary to effectuate the

purposes of the stop. Generally, “the duration of the traffic stop must be limited to the time

necessary to effectuate the purpose of the stop. The traffic stop may not last any longer than

necessary to process the traffic violation unless there is articulable suspicion of other illegal

activity.” United States v. Purcell, 236 F.3d 1274, 1277 (11th Cir. 2001) (internal citations

and quotations omitted). At the hearing, the officers testified that, upon approaching the

vehicle, they smelled marijuana emanating from inside the vehicle and, on that basis,

determined to conduct further investigation. “[T]he smell of marijuana alone may provide

       3
          Counsel for Gardner asserted at the hearing that if he were defending the traffic
violations in Montgomery City Court, he believed Gardner had a chance to prevail. Even were
that true, it would not negate that the officers had probable cause to effectuate the traffic stop in
this case.

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a basis for reasonable suspicion for further investigation of possible criminal conduct.”

United States v. White, 593 F.3d 1199, 1203 (11th Cir. 2010). Thus, the officers provided

“articulable suspicion of other illegal activity.”

       Although counsel for Defendants cross-examined the officers as to whether they could

have reliably smelled marijuana emanating from the vehicle where the vehicle was parked

on the side of the freeway, Cole had been smoking a cigarette or cigar, and where no

marijuana was actually found in the car, the testimony before the court by three different

officers was that there was a smell of marijuana coming from the cab of the truck. The court

finds this testimony to be credible. Not only did both Sergeant Byrd and Officer Ogletree

testify that they independently recognized the smell of marijuana, but Corporal Dunn, who

arrived on the scene a few minutes later also testified that he smelled marijuana when he

began his walk around the truck with his canine. That marijuana was not ultimately found

within the vehicle does not negate the officers’ articulable suspicion.

       Once the officers believed that criminal activity may be afoot, they had a duty to

investigate further. United States v. Hernandez, 418 F.3d 1206, 1211 (11th Cir. 2005).

Under the totality of the circumstances, including the smell of marijuana and the short

amount of time it took the canine officer to respond to the scene,4 the court finds that the

length of the detention was justified.


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        Moreover, the officers testified that the canine unit arrived before Sergeant Byrd had
completed the warrant check with dispatch.


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       C.      The Search of the Vehicle

       Defendants’ arguments here are related to the initial stop and detention of the vehicle

and they challenge whether there was justification to perform a warrantless search. The

search of the vehicle in this case was not made pursuant to the odor of marijuana emanating

from the vehicle. Rather, the search was made pursuant to the the canine “alerting” to illegal

narcotics outside the vehicle.5 “And because the canine gave a positive alert to the [truck, the

officers] had probable cause to search the [truck] pursuant to the automobile exception to the

warrant requirement.” United States v. Steed, 548 F.3d 961, 975 (11th Cir. 2008) (citing

United States v. Tamari, 454 F.3d 1259, 1264-65 (11th Cir. 2006) (“[T]he automobile

exception permits warrantless vehicle searches if the vehicle is operational and agents have

probable cause to believe the vehicle contains evidence of a crime . . . . We have long

recognized that probable cause arises when a drug-trained canine alerts to drugs.”)).

Accordingly, the court finds the search to have been permissible.

       D.      Fruits of the Poisonous Tree

       Defendants seek suppression of the items seized (narcotics and currency) and their

statements under the “fruits of the poisonous tree doctrine.” Under the fruit of the poisonous



       5
          Defendants do not specifically challenge whether the officer’s use of a canine during the
traffic stop was warranted. The Supreme Court has held that where “the dog sniff was performed
on the exterior of [a defendant’s] car while he was lawfully seized for a traffic violation[,] [a]ny
intrusion on [defendant’s] privacy expectations does not rise to the level of a constitutionally
cognizable infringement.” Illinois v. Caballes, 543 U.S. 405, 409 (2005).



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tree doctrine, evidence, including verbal statements, obtained as a result of an unlawful

search is subject to exclusion. See Wong Sun v. United States, 371 U.S. 471, 485 (1963).

Defendants’ arguments here are predicated on the notion that the traffic stop and its length

were improper, and, thus, anything obtained as a result should be suppressed. However,

“[Defendants’] Fourth Amendment fruit of the poisonous tree argument plainly collapses

since, as [was] just explained, [their] Fourth Amendment rights were never violated.” United

States v. Lopez-Garcia, 565 F.3d 1306, 1315 (11th Cir. 2009).

IV.    CONCLUSION

       For the reasons stated above, it is the RECOMMENDATION of the Magistrate Judge

that Defendants’ Motions to Suppress (Docs. #29 & 31) be DENIED. It is further

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation on or before July 11, 2012. Any objections filed must specifically

identify the findings in the Magistrate Judge’s Recommendation to which a party objects.

Frivolous, conclusive or general objections will not be considered by the District Court. The

parties are advised that this Recommendation is not a final order of the court and, therefore,

it is not appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge’s report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain


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error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982). See Stein

v. Reynolds Sec., Inc., 667 F.2d 33 (11th Cir. 1982); see also Bonner v. City of Prichard, 661

F.2d 1206 (11th Cir. 1981) (en banc) (adopting as binding precedent all of the decisions of

the former Fifth Circuit handed down prior to the close of business on September 30, 1981).

       Done this 27th day of June, 2012.

                                           /s/ Wallace Capel, Jr.
                                           WALLACE CAPEL, JR.
                                           UNITED STATES MAGISTRATE JUDGE




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